   Case 3:20-cv-01375-BEN-AGS Document 8 Filed 12/29/21 PageID.55 Page 1 of 1




                         United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA


United States of America
                                                           Civil Action No. 20-cv-01375-BEN-AGS

                                             Plaintiff,
                                      V.
The Bureau of Cannabis Control, a State                      JUDGMENT IN A CIVIL CASE
of California agency


                                           Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
The Petition to enforce United States Drug Enforcement Administration administrative subpoena is
granted.




Date:         12/29/21                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ J. Petersen
                                                                                   J. Petersen, Deputy
